                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION



UNITED STATES OF AMERICA,

       Plaintiff,
v.                                                          CASE NO.: 6:20-cr-00097-GAP-LRH

JOEL MICAH GREENBERG,

      Defendant.
__________________________________/

            UNOPPOSED MOTION TO FILE UNOPPOSED MOTION TO CONTINUE
             SENTENCING AND REQUEST FOR A HEARING UNDER SEAL

       The Defendant, Joel Micah Greenberg, moves this Honorable Court, to allow him to file his

Unopposed Motion to Continue Sentencing and Request for Hearing Under Seal. The Government

does not oppose the Defendant’s request. In support thereof, Mr. Greenberg states the following:

       Procedural History

       1.      On May 17, 2021, Mr. Greenberg pled guilty to sex trafficking, identity theft, wire

fraud, and conspiracy. See Doc. 105-106.

       2.      Based on his convictions for identity theft and sex trafficking, Mr. Greenberg is

facing a significant minimum mandatory penalty of 12 years. See 18 U.S.C § 1591 (imposing

mandatory penalty of ten years) and 18 U.S.C. § 1028A (imposing consecutive mandatory penalty of

two years).

       3.      Mr. Greenberg’s sentencing hearing is currently set for March 29, 2022. Doc. 130.

       Grounds Supporting Request to Seal

       4.      Pursuant to his plea agreement with the Government and to mitigate the significant

penalties he faces; Mr. Greenberg has been cooperating with federal prosecutors in active
investigations currently being conducted by the United States Attorney’s Office in the Middle

District of Florida and the Department of Justice in Washington D.C. The unopposed motion to

continue provides confidential information concerning these investigations, as well as the nature and

extent of Mr. Greenberg’s cooperation.

       5.      Pursuant to the Local Rules for the Middle District of Florida, the undersigned

consulted with the Government, which asserted that it agrees with the sealing of Mr. Greenberg’s

request for a continuance.

                                   MEMORANDUM OF LAW

       The public possesses a common-law right to inspect and copy judicial records and public

documents. In re Alexander Grant & Co. Litig., 820 F.2d 352, 355 (11th Cir.1987). However, the

public's right of access to judicial records may be overcome by a showing of good cause. Federal

Trade Comm'n v. Alcoholism Cure Corp., No. 3:10-cv-266-J-34TEM, 2010 WL 4840046 at *1, *3

(M.D. Fla. Nov. 23, 2010).

       Good cause requires balancing the right of access against the party's interest in keeping the

information confidential. Whether good cause exists is determined by the nature and character of the

information. Courts consider whether allowing access would impair court functions or harm

legitimate privacy interests, the degree of likelihood of injury if the information is made public, the

reliability of the information, whether there will be an opportunity to respond to the information,

whether the information concerns public officials or public concerns, and the availability of a less

onerous alternative. Id. (citing Romero v. Drummond Co., 480 F.3d 1234, 1246 (11th Cir.2007)).

       As previously noted, Mr. Greenberg’s forthcoming motion for a continuance contains

sensitive information pertaining to the Defendant and Government’s plea agreement and directly

involves confidential and protected information concerning the Government’s ongoing investigations


                                              2
and prosecutions. Assuming, arguendo, that this Court sets a hearing on the motion, the proceeding

will convey specific information to the Court concerning the Government’s investigations and Mr.

Greenberg’s cooperation against multiple individuals.

       Because these interests outweigh the public’s interest, good cause exists for the sealing of

Mr. Greenberg’s request for a continuance and for the hearing on said motion.

       WHEREFORE, the Defendant, Joel Micah Greenberg, moves this Honorable Court for

permission to file his Unopposed Motion to Continue Sentencing and Request for Hearing Under

Seal. If the Court sets a hearing on the motion, Mr. Greenberg requests that the hearing be

conducted under seal.

                                                      Respectfully submitted:

                                                      /s/ Fritz Scheller
                                                      Fritz Scheller
                                                      Florida Bar No. 0183113


                                CERTIFICATE OF SERVICE

       On February 4, 2022, I electronically filed the foregoing with the clerk of the court by using
the CM/ECF system, which will send a notice of electronic filing to all parties of record.


                                                      /s/ Fritz Scheller
                                                      Fritz Scheller
                                                      Florida Bar No. 0183113
                                                      Fritz Scheller, P.L.
                                                      200 E. Robinson St., Ste. 1150
                                                      Orlando, Florida 32801
                                                      PH: (407) 792-1285
                                                      FAX: (407) 649-1657
                                                      Email: fscheller@flusalaw.com




                                             3
